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                                                                                         Matthew A. Kezhaya <matt@kezhaya.law>



  Cave v. Thurston, 1st Suppl. Rsps. to TST's first discovery reqs
  Michael Cantrell <michael.cantrell@arkansasag.gov>                                                Fri, Apr 24, 2020 at 12:11 PM
  To: "aschultz@rodey.com" <aschultz@rodey.com>, "jburnett@laveyandburnett.com" <jburnett@laveyandburnett.com>,
  "josh@greenandgillispie.com" <josh@greenandgillispie.com>, "mstambaugh@rodey.com" <mstambaugh@rodey.com>,
  "gerrysch@b-s-m-law.com" <gerrysch@b-s-m-law.com>, "mmiller@americanhumanist.org"
  <mmiller@americanhumanist.org>, "patrick@ffrf.org" <patrick@ffrf.org>, Nicholas Bronni
  <nicholas.bronni@arkansasag.gov>, Vincent Wagner <vincent.wagner@arkansasag.gov>, Michael Cantrell
  <michael.cantrell@arkansasag.gov>, Dylan Jacobs <dylan.jacobs@arkansasag.gov>, "William C. Bird III"
  <william.bird@arkansasag.gov>, "gary.sullivan@sos.arkansas.gov" <gary.sullivan@sos.arkansas.gov>,
  "hsasser@firstliberty.org" <hsasser@firstliberty.org>, "mberry@firstliberty.org" <mberry@firstliberty.org>,
  "lepatterson@firstliberty.org" <lepatterson@firstliberty.org>, "matt@kezhaya.law" <matt@kezhaya.law>,
  "sonia@kezhaya.law" <sonia@kezhaya.law>, "josie@kezhaya.law" <josie@kezhaya.law>, "stu.dehaan@gmail.com"
  <stu.dehaan@gmail.com>


    Matthew,



    Good afternoon. Attached please find documents regarding Defendant’s First Supplemental Responses to the Satanic
    Temple’s first discovery requests.



    Regards,



    Mike



    Michael A. Cantrell

    Assistant Solicitor General

    Office of Arkansas Attorney General Leslie Rutledge



    323 Center Street, Suite 200

    Little Rock, Arkansas 72201

    Office: 501.682.2401 │ Fax: 501.682.2591

    Michael.Cantrell@ArkansasAG.gov │ ArkansasAG.gov




     2 attachments
           1755-1765 SOS File - AHHF.pdf

https://mail.google.com/mail/u/1?ik=e1ff07a34d&view=pt&search=all&permmsgid=msg-f%3A1664874769193827543&simpl=msg-f%3A166487476919… 1/2
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                                                     - Cave v. Thurston,       Filed
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                                                                                    Rsps. to TST's first Page
                                                                                                         discovery2reqs
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